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       Honorable Richard A. Stone (Ret.)
       BENCHMARK RESOLUTION GROUP
 2     633 West 5th Street, Suite 1000
       Los Angeles, California 90071
 3     (213)622-1002 PH
       Arbitrator
 4

 5

 6                                             BENCHMARI( RESOLUTION GROUP

 7                            IN RE THE MA~~ER OF THE ARBITRATION BETWEEN

 8
       MARC I. WILLICK,                                                 )   ADRS Case. No. 15-6722-RAS
 9                                                                      )
                                     Plaintiff! Claimant,              )    [TENTATIVE] ORDER RE:

11                vs.
                                                                       ))   PLAINTIFF’S MOTION FOR
                                                                            TERMINATING AND MONETARY

12     NAPOLI BERN RIPKA &                                             )    SANCTIONS

‘3     ASSOCIATES, LLP et. al.,                                        )    DATE: May 1, 2018

14                           Defendants/Respondents
                                                                       ))   TIME: 8:00 am
                                                                            PLACE: Benchmark Resolution Group

15                                                                      )
                                                                       )
16                                                                     )
17

18                                                                     )
      _________________________________________________________________)
19

20               Plaintiff’s/Claimant’s              motion         for     terminating   and    monetary   sanctions   against

21    defendant/respondent Napoli Bern Ripka                           &    Associates, LLP came on for hearing before the

22    Arbitrator, Hon. Richard A. Stone (Ret.), on May 1, 2018.                                 Having considered the parties’

23    written briefs on the motion, the Arbitrator now issues the following tentative order granting the

24    motion in full:

25

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27

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     1

    2                                                 Background
     3             This breach of contract action arises out of a dispute between a California attorney
    ~      (“Plaintiff’ or “Willick”) and the New York law firm Napoli Bern Ripka & Associates
    ~      (“NBRA” or “Napoli Bern”) regarding nonpayment of fees. Plaintiff specializes in representing
    6      individuals suffering from asbestos-related illnesses, including mesothelioma. Plaintiff’s law
    ~      office agreed to act as local counsel for NBRA with respect to certain asbestos-related cases in
    8      exchange for payment of fees, pursuant to two contracts: a “Co-Counsel Agreement for
    g      California Personal Injury Claims” dated March 17, 2011, and an employment agreement dated
10         May2O,2011.
11                 Less than two years into the relationship, Plaintiff became concerned with numerous
12        facets thereof, including whether NBRA was paying all referral fees due to him. The
13        relationship disintegrated. On December 12, 2014 (i.e., over 3 years and four months ago),
14        Plaintiff filed a complaint in the Superior Court of California, Los Angeles, Case No.
~         BC566742, against NBRA, Napoli Bern Ripka Shkolnik & Associates, LLP, Napoli Bern Ripka
16        Shkolnik, LLP, Napoli Bern Ripka, LLP, and Napoli Kaiser Bern, LLP (collectively, “Entity
17        Defendants”); and Marc J. Bern (“Bern”) and Paul J. Napoli (“Napoli”) (collectively,
18        “Individual Defendants”). The Complaint alleged five causes of action against all of the
19        defendants: (1) accounting (re: fees received on cases referred by Plaintiff or his referral
20        sources); (2) breach of contract; (3) fraud; (4) violation of Business & Professions Code
21        §   17200; and (5) negligent misrepresentation.
22                 On January 28, 2015, the Entity Defendants removed the case to federal court. The
23        Entity Defendants subsequently filed a motion to compel arbitration of the matter pursuant to
24        the May 2011 Contract, which motion the District Court granted on August 20, 2015. In
25        granting the motion, the District Court relied, in part, on the defendants’ representation that they
26        would pay their portion of the costs of arbitration.
27                 On September 15, 2015, the parties selected the Arbitrator. The arbitration was initially
2         scheduled to take place in two phases: liability and damages (if Plaintiff prevailed on liability).
          The hearing in Phase 1 was originally set for January 24-25, 2017, and the hearing in Phase 2


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       was set for March 14-15, 2017. However, the hearing dates were vacated because the
 2     defendants did not comply with their discovery obligations.
              In November 2017, the Arbitrator issued two tentative rulings in favor of Plaintiff on his
 ~     first cause of action for an accounting, regarding the scope of the accounting and the
 ~     responsibility for paying the costs of same. On January 27, 2018, the Arbitrator issued the final
 6     ruling on the matter, captioned, “Interim Award Re Accounting” (“the Interim Award”).
              In the Interim Award (Motion, Ex. G), the Arbitrator ruled in favor of Plaintiff on his
 a     first cause of action for an accounting (against NBRA only) and ordered an accounting.
              In finding that an accounting was appropriate, the Arbitrator stated, inter alia, that “it is
10     clear, based on the evidence submitted by Mary Keyes, one of Willick’s referral sources, that
ii     Willick may be entitled to substantial compensation.” (Interim Award, at 5:23-25.)’
12            The scope of the accounting ordered was quite broad: “The accounting must identify all
13     cases referred by Willick or Willick’s Referral Sources to [NBRA] or any law firm with which
14     Paul Napoli or Marc Bern have been affiliated, and quantify the fees received on such cases.
15     The accounting must also identify all cases for which Willick performed work as local counsel
16     between March 7,2011 and May 20, 2011, along with all Assigned Cases that Willick worked
,~     on while employed by [NBRA], and include the information identified in Section 1 [requiring
18     extensive information as to each case].”
19            The Interim Award appointed Bjorn L. Malmiund of Ernst & Young LLP (“the
20     Accountant” or “E&Y”)    --   whom NBRA itself had, in October 2017, proposed to head tip the
21    accounting-- to conduct the accounting. The Interim Award also directed NBRA to bear the
22    costs of the accounting, including a $100,000.00 retainer to E&Y.
23            The Arbitrator concluded that it was appropriate to order NBRA to bear the costs of the
24     accounting primarily because:
25            [T]he equities weigh against placing this burden on Willick. First, Defendant
26

27

28      According to a list provided by Plaintiff’s key referral source (Mary Keyes) pursuant to an
      order issued by the United States District Court, Plaintiff referred at least 2500 cases to the
29    defendants in this action. Defendants claimed in discovery that he referred 4 cases. This is
      discussed further in footnote 2, post.

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                   Napoli Bern Ripka & Associates, LLP appears to have breached its obligations under the
     2             May Contract to pay Willick for cases on which he worked. Second, Defendant Napoli
     3             Bern Ripka & Associates, LLP appears to have breached its obligation under the May
 4                 Contract to pay Willick the portion of fees they received on cases accepted from his
 5                 Referral Sources. Third, Defendant Napoli Bern Ripka & Associates, LLP have never
 6                 provided Willick with an accounting even though it promised him that it would do so.
 7                 Fourth, Defendant Napoli Bern Ripka & Associates, LLP breached its discovery
 8                 obligations and prevented Willick from obtaining the documents and information
 g                 necessary to perform an accounting on his own. Fifth, Defendant Napoli Bern Ripka &
10                 Associates, LLP failed to fulfill its promises during discovery to Willick’s detriment.
11                 And sixth, material information provided during discovery relating to cases referred by
12                 Willick’s referral sources proved to be false. Interim Award, at 5:26-6:9 (emphases
13                 added).2
14                 By late March 2018, NBRA still had failed to pay the $100,000.00 retainer (or even sign
15        a retainer agreement with E&Y). Accordingly, Plaintiff brought this motion seeking
16        terminating and monetary sanctions for failure to comply with the Interim Award. NBRA filed
17        opposition papers. Plaintiff filed reply papers.
18

                              The Competin2 Contentions of Plaintiff and Defendant
20

21        2   In his October 7, 2017 order denying Defendants’ motion to dismiss Plaintiff’s accounting
22        claim, the Arbitrator stated: “While this case does not involve royalties, the amounts allegedly
          due and owing to Willick are similar in that he claims he is owed a percentage of fees for cases
          he brought in to the firm. This could feasibly be accomplished through discovery. However, for
          the reasons set forth in Willick’s opposition, discovery has been woefully insufficient in this
          regard. Napoli Bern only identified four individuals as having been referred by Mary Keyes, one
          ofMr. Willick’s referral sources. According to Willick, documentation provided by Ms. Keyes
26        shows that 2,520 cases were referred to Napoli Bern, not 4... The arbitrator participated in a
          number of telephonic conferences with counsel seeking to assist the parties to produce the
27        requisite discovery consistent with Respondents’ legal obligations. When the arbitrator
28        scrutinizes the discovery responses of the individual and entity Respondents, one cannot help bitt
          conclude that they have chosen to prevent Willick from obtaining appropriate discovery to
29        establish his claims.” (Ruling re Motion to Dismiss Accounting Claim, at 7:24-8:10) (emphases
          added).

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                 Plaintiff asserts that the Interim Award is equal to a discovery order, and that
    2     terminating and monetary sanctions against NBRA are merited due to its violation of that order.
    ~     As Plaintiff puts it: “[NBRA] was ordered to pay for the cost of an accounting. It has failed to
    ~     do so. As a result, the accounting has not been conducted or even commenced; this matter
    ~     which was been pending for over three years       has been delayed once again, thus jeopardizing
    6     the efficacy of any further relief that may be awarded to Plaintiff...; and Willick has incurred
    ~     substantial additional costs. [NBRA’s] conduct is inexcusable and outrageous, and
    8     sanctionable. Both terminating sanctions and monetary sanctions are warranted and, indeed,
    ~     required. At this point, anything less would be too little, too late. [NBRA]’s Answer to
10        Willick’s Complaint should be stricken; a default award should be issued; a ‘prove up’ hearing
ii        should be scheduled; and, following the hearing, a final award should be issued on Willick’s
12        claims against [NBRA].” (Motion, at 3:3-13.)
13               NBRA points out the highly disfavored nature of terminating sanctions and asserts that
14        same are not appropriately imposed here because it has tried, in good faith, to move forward
,~        with the accounting (including the payment of the $100,000.00 retainer to E&Y). “NBR[A] has
16        made a reasonable and good faith effort to comply with the Interim Award given that the
17        Interim Award was not finalized until January 27, 2018, the Engagement Agreement with
is        [E&YJ has yet to be finalized, and the Referee [in New York] has yet to approve the
19        $100,000.00 retainer fee for [E&Y]. On March 27, 2018, NBR[A] filed suit against its insurer
20       to seek to compel payment of the retainer as a covered item under the insurance policy. The
21       record before the Arbitrator supports a decision denying the subject motion.” (Opposition, at
22       2: 10-17.)
23               “Given the complex nature of this case, NBR[A] was required to coordinate with its
24       insurance carrier, the Referee, the Accountant [E&Y], and other parties in order to comply with
2        the Interim Award, which necessarily takes time. As demonstrated in the various emails and
26       letters sent by and on behalf of NBR[A], it is evident that NBR[A] made a good faith effort to
27       fulfill its obligations under the Interim Award. Accordingly, Plaintiff’s motion should be
         denied.” (Opposition, at 6:15-21.)




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     1             On reply, Plaintiff cogently addresses NBRA’s arguments on a point-by-point basis.
    2      The Referee will not summarize those arguments here, because they will be discussed (and even
    3      quoted) at length below.
    4

                                                         Analysis
    6              Code of Civil Procedure Section 2023.030 authorizes a trial court to impose monetary
    ~      sanctions, issue sanctions, evidence sanctions, or terminating sanctions against ‘anyone
    8      engaging in conduct that is a misuse of the discovery process.’” (Doppes v. Bentley Motors, Inc.
    ~      (2009) 174 Cal.App.4th 967, 991.)~ American Arbitration Association Rule R-58, which is
10         applicable to this dispute in light of the parties’ arbitration agreement specifically referencing
ii         same, provides: “The arbitrator may, upon a party’s request, order appropriate sanctions where
12         a party fails to comply with these rules or an order of the arbitrator.”4
13                NBRA does not dispute that the Interim Order is in the nature of a discovery order. Nor
14         could it reasonably do so. As is aptly stated in the moving brief: “The purpose of the Interim
15         Award was to obtain the information needed to quantify [NBRA’s] liability in this case. It was
16         intended to serve the same function as an order compelling discovery.... Indeed, it was, in large
i~         part, Defendants’ failure to provide full and accurate responses to discovery requests concerning
18

19

20         ~ The Arbitrator notes that in October 2017, he denied NBRA’s motion for terminating sanctions
21         brought under this very statute.
22        ~ Further, Code of Civil Procedure section 1283.05(b) provides that arbitrators “have power, in
          addition to the power of determining the merits of the arbitration, to enforce the rights, remedies,
          procedures, duties, liabilities, and obligations of discovery by the imposition of the same terms,
          conditions, consequences, liabilities, sanctions, and penalties as can be or may be imposed in like
          circumstances in a civil action by a superior court of this state under the provisions of this code,
          except the power to order the arrest or imprisonment of a person.” (See, Berglund v.
26        Arthroscopic & Laser Surgery Center ofSan Diego, L.P. (2008) 44 Cal.4th 528, 535 [“[s]ection
          1283.05’s subdivision (b) grants arbitrators the power to enforce discovery through sanctions,”
27        and “[t]hus, in an arbitration proceeding the arbitrator’s power to enforce discovery resembles
28        that of a judge in a civil action in superior court”]; Alexander v. Blue Cross of California (2001)
          88 Cal.App.4th 1082, 1091 [section 1283.05 grants power to an arbitrator to impose discovery
2         sanctions].)


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    1     [referred cases] that led the Arbitrator to his decision on Willick’s cause of action for an
    2     accounting.” (Motion, at 9:2-7.)~
    3             “The court may impose a terminating sanction by      ...   [IT]   ...   [IT]   ...   rendering a judgment
    ~     of default against th[e offending] party.” (CCP 2023.030(d)(4).) A court is afforded broad
    s     discretion in selecting discovery sanctions, ‘subject to reversal only for abuse.” (Doppes, supra,
    6     at 992; see also, R.S. Creative, Inc. v. Creative Cotton Ltd. (1999) 75 Cal.App.4th 486, 496.)
    7            Three facts are prerequisite to imposition of “doomsday” sanctions: (1) there must be a
    a     failure to comply; (2) the failure must be willful; and (3) there must be a prior court order
    ~     compelling compliance with discovery that has been disobeyed. (Vailbona v. Springer (1996)
10        43 Cal.App.4th 1525, 1545; Ruvalcaba v. Government Employees Ins. Co. (1990) 222
11        Cal.App.3d 1579, 1580~1581.)6
12               Even if those three facts are established, terminating sanctions are disfavored and need
13        not be imposed: “Discovery sanctions are intended to remedy discovery abuse, not to punish the
14        offending party. Accordingly, sanctions should be tailored to serve that remedial purpose,
15        should not put the moving party in a better position than he would otherwise have been had he
16        obtained the requested discovery, and should be proportionate to the offending party’s
‘7        misconduct.” (Williams v. Russ (2008) 167 Cal.App.4th 1215, 1223. See also, e.g., Rail
18        Services ofAmerica v. State Comp. Ins. Fund (2003) 110 Cal.App.4th 323, 33 1—332 [“the trial
19        court may impose sanctions that are suitable and necessary to enable the party seeking
20

21
          ~ Cf, In reMarriage ofKasteiner, 2015 WL 4601122, ~5 (“The appointment of the accounting
22        expert to obtain the information and analysis necessary to understand the nature, value and cash
23        flow of Paul’s business to make an appropriate support order was in the nature of a discovery
          order. Therefore, the court had authority under both Code of Civil Procedure section 2023.030
24        and its inherent judicial powers to impose terminating sanctions for failure to comply with court
25        orders and for misuse of the discovery process”) (emphasis added).
26       6  Willfulness in failing to comply with discovery obligations does not require wrongful
          intentions; a simple lack of diligence may be deemed willful where the party knew he had an
27        obligation, had the ability to comply, and failed to do so. (Deyo v. Kilbourne (1978) 84
2        Cal.App.3d 771, 787.) The party with the obligation to respond to discovery i.e., NBRA            —            -

         bears the burden of showing that the failure to respond or comply was not willful. (Cornwall v.
         Santa Monica Dairy Co. (1977) 66 Cal.App.3d 250, 252-253.)


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           discovery to obtain the objects of the discovery he [or she] seeks but the court may not impose
     2     sanctions which are designed not to accomplish the objects of the discovery but to impose
     3     punishment” (internal quotations and citations omitted)]; In re Marriage ofEconomou (1990)
     ~     224 Cal.App.3d 1466, 1476 [“Discovery sanctions cannot be imposed to punish the offending
     ~     party or to bestow an unwarranted ‘windfall’ on the adversary”]; Deyo v. Kitbourne (1978) 84
     6     Cal.App.3d 771, 793 [the sanction should be “appropriate to the dereliction, and should not
     ~     exceed that which is required to protect the interests of the party entitled to but denied
     8     discovery”].)7
                  A terminating sanction is a drastic measure that denies a party the right to a trial on the
io         merits. Accordingly, consistent with the authorities discussed above, our courts have limited its
~          use to only the rarest and most extreme cases of litigation misconduct when no lesser sanction
12         can preserve the fairness of the trial and restore balance to the adversary system. (Lyons v.
13         Wickhorst (1986) 42 Cal.3d 911, 916—917; see also, Miteikowsky v. Tenet I-Ieatthsystem (2005)
~          128 Cal.App.4th 262, 279 [“A decision to order terminating sanctions should not be made
is         lightly”]; Stephen Stesinger, Inc. v. Walt Disney Co. (2007) 155 Cal.App.4th 736, 761, 764
16         [establishing a trial court’s inherent power to dismiss an action for discovery abuse].)
17                The Arbitrator concludes that, unfortunately, this is one of those rare and extreme cases.
is         In this regard, none of the four excuses offered by NBRA hold water; none are tegitimate
19        excuses. Indeed, a close look at the proffered excuses only reveals NBRA’s continuing,
20        egregious delay and misconduct.
21

22                The excuse that the Interim Award was not finalized until January 27, 2018:
23                NBRA asserts that although the Arbitrator issued his tentative ruling in November 2017,
24        the Arbitrator did not finalize it until January 27, 2018 when he issued the formal Interim
25        Award. This fact actually works against NBRA. As Plaintiff states in his reply brief:
26



          ~ NB~ argues: “If Plaintiff’s motion were granted and termination sanctions issued, this would
          undoubtedly place Plaintiff in a better position than he would be in had the alleged non
29        compliance with the Interim Award not taken place, as argued by Plaintiff.” (Opposition, at
          8:25-28.) However, NBRA provides no exptanation as to why that is the case.

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     1            [NBRA] admits its insurance company denied coverage for the $100,000 retainer for the
    2             Accountant on November 27, 2017 more than two months before [NBRAJ informed the
    3             Arbitrator and Willick that the insurance company would not pay.... During this time,
    4             there were multiple conferences with the Arbitrator related to finalizing the Interim
                  Award and beginning the accounting, but at no point was the Arbitrator or Willick
    6             informed that the insurance company had denied coverage, or even that any decision
                  that the insurer might make might have an impact on compliance with the Interim
    8             Award. [Para.] Although [NBRA] knew since November 27, 2O1?~ that the insurance
                  company had denied coverage, they did nothing to attempt to secure other means of
10                payment until February 28, 2018, more than three months after the insurance company
11                denied coverage and nearly a month beyond the date that [NBRAJ was supposed to
12                inform the parties and the Arbitrator as to whether it would pay for the Accounting
13                February 5, 2018.
14

is        Reply, at 4:4-16 (emphases added).
16

17                The excuse that the Engagement Agreement with E&Y has yet to be finalized:
18                Per NBRA, it has been “work[ing] with the Accountant to revise the Engagement
19        Agreement as needed, which has yet to be finalized.” It asserts that “[t]he dispute over th[e
20        Enagagement Agreement’s Personal Data] provision (and potentially other provisions) must
21        first be resolved before the Engagement Letter can be finalized.”    (Opp. at 5:3-4.)
22               The Arbitrator has carefully reviewed NBRA’s proposed revisions to E&Y’s
          engagement agreement. The many reasons why this excuse fails are tackled handily at 5:13-7:9
          of the reply brief and will not be repeated at length here. Suffice it to say that the Arbitrator
          wholeheartedly agrees with Plaintiff’s observations that: (1) nothing in the Interim Award
26        excuses NBRA from withholding the retainer while it quibbles with E&Y regarding the terms of
27        the engagement letter; (2) any issues regarding the conditions under which E&Y would be
2         willing to serve as the accountant in this case should have been addressed and resolved prior to
          that firm being proposed as a candidate by NBRA itself, and certainly prior to the hearing when


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           the Arbitrator selected E&Y; and (3) NBRA’s disputes with E&Y over the terms of the
     2     agreement including but not limited to its requests that E&Y dispense with its arbiration
                      -




     j     provision, that E&Y dispense with certain exoneration and liability limitation provisions, and
     ~     that E&Y dispense with its Personal Data provision are “contrived” disputes inappropriately
                                                                    -




     ~     created by NBRA to (among other things) delay the accounting.
     6

                  The excuse that the Referee in New York has yet to approve the $100,000.00 retainer fee
     8     for E&Y:
                  The facts pertinent to this excuse, as set forth in the opposition brief, are as follows: (1)
io         “Mark C. Zauderer (the ‘Referee’) was appointed as the referee in the action Napoli v. Bern,
ii         Index No. 159576/2014 and is empowered to hear and determine any and all issues, and to
12         perform any and all acts in this action with all the powers of the Supreme Court of the State of
13         New York”; (2) “On February 28, 2018, Counsel for Entity Defendants wrote to the Referee
14         requesting authorization for the $100,000.00 retainer for Ernst & Young to conduct the
15         accounting”; and (3) “On March 14, 2018, the Referee responded stating that he is awaiting the
16         advice of Mr. Napoli and Mr. Bern on how to proceed.” (Opp., at 5:9-21.)
17                As stated in the reply brief, Napoli Bern’s assertion that it should be excused for not
18         complying with the Interim Award because the Referee hasn’t authorized payment lacks merit:
19                First, Mr. Zauderer hasn’t authorized payment because “he is waiting the advice of Mr.
20                Napoli and Mr. Bern how to proceed.”      ...   However, there is no indication that Mr.
21                Zauderer doesn’t have the funds. Indeed, Napoli Bern has not provided any information
22                whatsoever concerning its financial condition or the results of its operations.... In fact, it
23                is telling that neither Napoli or Bern, nor Mr. Zauderer, nor anyone but one of Napoli
24                Bern’s new attorneys in this case (who does not purport to have any personal knowledge
25                regarding Napoli Bern’s finances, the coverage issues, or the proceedings in Napoli v.
26                Bern) has submitted a declaration or other evidence in opposition to this motion. [Para.]
27                Second, Mr. Zauderer has been waiting for the authorization since February 28, 2018,
28                almost two months ago. Why hasn’t the authorization been given? No explanation is
29                provided in the Opposition.


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     1   Reply, at 4:21-5:5.
     2

                 The excuse that the NBRA’s insurer has denied payment of the retainer as a covered
     ~   item under the insurance policy (and NBRA’s filing of a coverage suit):
     5           NBRA, pointing out that in late March 2018 it “filed suit against its insurer, Evanston
     6   Insurance Company, seeking court intervention to compel payment of the $100,000.00 retainer”
 ~       (and sought authorization from the New York Referee), argues that it “has made strides to
 o       comply with the Interim Award.”     (Opp., at 7:15-16.)
 9               However, as Plaintiff correctly counters: “Napoli Bern never asked the Arbitrator to
jo       make the Interim Award relating to the cost of the accounting conditioned on or subject to the
ii       insurance company making the payment. If they intended to delay the accounting process until
12       they received a payment from the insurance company, they should have said something a long
13       time ago.... [Para.] The bottom line is that the Interim Award requires Napoli Bern not the
                                                                                                -




14       insurer to pay for the cost of the accounting, including the $100,000 retainer required by the
                 -




is       accountant that they proposed. The Award does not permit Napoli Bern to delay payment or
16       compliance with the Award pending a resolution of what will likely be a lengthy case regarding
17       coverage for Willick’s claims.” (Reply, at 3:15-27.)
18

‘9               Based on the foregoing, as well as the prior history of this action (with which the
20       Arbitrator is quite familiar, and part of which is summarized in the “Background” section of this
21       order, ante), the Arbitrator finds that NBRA’s assertion that it sought to comply with the Interim
22       Order “in good faith” lacks credibility. To put it another way: the Arbitrator concludes that
23       NBRA’s failure to comply with the Interim Order was willful.
24              Numerous cases stand for the proposition that terminating sanctions are appropriate in
25       egregious instances of discovery misconduct. Indeed, “where a violation is willful, preceded by
26       a history of abuse, and the evidence shows that less severe sanctions would not produce
27       compliance with the discovery rules, the trial court is justified in imposing the ultimate
28       sanction.” (Mileikowsky, supra, 128 Cal.App.4th at 279.)
29




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     1            One example is Hartbrodt v. Burke (1996) 42 Cal.App.4th 168. In that case, the
     2    plaintiff commenced an action for breach of contract and tort seeking return of a $2,000,000
     ~    capital investment in a company that never got off the ground. The defendant served document
     4    production requests seeking a tape made of a conversation between the parties relevant to the
    s     issues of the complaint. The defendant also alleged the plaintiff had played the tape for him and
    6     claimed he would make trouble for the defendant unless he received $2,000,000. The plaintiff
    7     responded that the tape was privileged from discovery by the privilege against self
    8     incrimination, as the plaintiff was under investigation by the federal government for mail fraud.
    ~      (Id. at 170-171.) A discovery referee concluded the tape contained relevant material and
10        ordered a redacted version made available for inspection, and the referee’s conclusions were
ii        upheld by the trial court. (Id. at 171.) The trial court ordered the tape produced within 30 days;
12        the plaintiff failed to comply. Thereafter, the trial court granted the defendant’s motion for a
13        terminating sanction and dismissed the action. (Id. at 171-172.) Hartbrodt found no abuse of
14        discretion based upon the plaintiff’s willful obstruction of discovery in his failure to produce the
15        tape after both the referee and trial court ordered its production. (Id. at 175.)
16                Similarly, in Collisson & Kaplan v. Hartunian (1994) 21 Cal.App.4th 1611, the trial
i~        court imposed terminating sanctions after the defendants failed to comply with a single court
18        order to produce discovery. After failing to receive appropriate responses, or timely responses,
19        to numerous discovery requests, the plaintiff sent the defendants letters requesting compliance
20        with the discovery, to which the defendants failed to respond. The trial court granted the
2,        plaintiffs motions to compel and ordered the defendants to respond to discovery. The
22        defendants failed to comply with these orders, and the plaintiff filed a motion to strike the
23        defendants’ answer. (Id. at 1614-1615.) After the motion was granted, the defendants filed a
24        motion for reconsideration and responded to discovery. (Id.) The Collisson & Kaplan court
25        rejected the defendants’ argument that “that since this was their ‘first effort’ at drafting
26        responses, the trial court should not have resorted to the drastic sanction of striking their
27        answer.” (Id. at 1618.) “Defendants’ characterization of their further responses as being their
2         ‘first effort’ to respond, while literally correct, is nonetheless misleading. The point that
          defendants fail to acknowledge is that, while this may have been their first effort to respond, it


                                                                                                    EXHIBIT 10
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     1    was not plaintiffs first [attempt] at receiving straightforward responses. Defendants chose to
    2     ignore the many attempts, both formal and informal, made by plaintiff to secure fair responses
     ~    from them. Accordingly, we find no abuse of discretion by the trial court.       (Id. at 1618.)
                  Yet another example is Laguna Auto Body v. Farmers Ins. Exchange (1991) 231
    s     Cal.App.3d 481 (disapproved on another ground in Garcia v. McCutchen (1997) 16 Cal.4th
    6     469, 478, fn. 4.) In Laguna Auto Body, the plaintiffs were ordered to respond to interrogatories,
    ~     but they repeatedly failed to do so. (Id. at 483-484.) The plaintiffs also failed to appear for
    ~     noticed depositions. (Id. at 484.) In terminating the plaintiffs’ action as a discovery sanction
    g     and denying reconsideration of this ruling, the trial court relied on “the plaintiff[s’] actions” as a
10        basis for the sanctions. (Id. at 486.) The appellate court affirmed, reasoning that the plaintiffs
ii        had violated a court order and various discovery statutes. (Id. at 487-491.) The appellate court
12        rejected the plaintiffs’ contention that dismissal for failing to attend the noticed deposition was
13        an inadequate basis for the sanctions order, pointing to plaintiffs’ noncompliance with the order
j~        regarding the interrogatories. (Id. at 489-490.)
15                In other words, the Arbitrator may consider a party’s entire conduct in the litigation in
16        deciding whether to impose a sanction. (See also, e.g., Lang v. Hochman (2000) 77 Cal.App.4th
17        1225, 1246 (reviewing cases in which trial courts imposed terminating sanctions “after
18        considering the totality of the circumstances”)8; Obregon v. Superior Court (1998) 67
19        Cal.App.4th 424, 430-431 (in resolving discovery matter, trial court may rely upon “past
20        experience” and may look to the “history of the litigation”; “an abuse of discovery procedures in
21        one instance can imply a continuing intent to abuse in other instances”].)
22                The Arbitrator is loath to impose terminating sanctions. Very much so. However, here,
23        NBRA’s litigation conduct prior to the Arbitrator’s issuance of the Interim Award, in
24        combination with its wilifti failure to comply with the Interim Award, demonstrate a level of
2         (continuing) obstruction so egregious as to warrant (if not require) the imposition of terminating
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2         8 Notably, the Lang court stated that in assessing whether a terminating sanction was an abuse of
          discretion, the question “is not whether the trial court should have imposed a lesser sanction;
          rather the question is whether the trial court abused its discretion by imposing the sanction that it
          chose.” (Lang, supra, 77 Cal.App.4th at 1245) (internal quotations and citations omitted).

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        sanctions, in the interest of justice and looking at the totality of the circumstances.
        Unfortunately, the Arbitrator agrees with Plaintiff’s observation that “[a]nything less would
        only encourage more of the same.” (Motion, at 2:10.) (It should be noted that nothing in this
        ruling should be construed as casting any aspersions whatsoever or being directed at NBRA’s
        newly retained counsel.)


                                                    Conclusion
                Plaintiff’s motion is GRANTED IN FULL. Request for terminating sanctions is
 9      GRANTED. Request for monetary sanctions is GRANTED.
10             Napoli Ripka Bern & Associates, LLP’s answer is stricken and its default is entered.
ii             A prove-up hearing is now scheduled for _______,2018, at        ______   a.m., at the
12      Arbitrator’s office. At that time, Plaintiff is to prove up all of his claims against Napoli Ripka
13      Bern & Associates, LLP and is to quantify all fees and costs incurred in connection with the
14      instant motion.
15

16

17      DATED:    _____________                        _________________


                                                       Hon. Richard A. Stone (Ret.)
18                                                     Arbitrator
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                                                                                                  EXHIBIT 10
                                                                                                   Page 122
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                                                          - DO NOT FILE WITH THE COURT -                     ClV~’O5O
           - UNLESS YOU ARE APPL VING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 -
         AUORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)                TELEPHONE NO FOR COURT use ONLY
                                                         310.552.4400
        James Goldman (SBN 57127); Kelly F. Halford (SBN 312251)
        MILLER BARONDESS, LLP
          999 Avenue of the Stars
        Suite 1000
        Los Angeles, CA 90067
        ATTORNEY FOR (nanle~. Marc 1. Willick
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF                                  Los Angeles
             STREET ADDRESs             Benchmark Resolution Group
             MAILINGADDRESS             633 West 5th Street, Suite 1000
             CITY AND ZIP CODE          Los Angeles, CA 90071
                   BRANCH NAME.
                    PLAINTIFF:          MARC 1. WILLICK
                  DEFENDANT.            NAPOLI BERN RIPKA & ASSOCIATES. LLP et. al.
                                    STATEMENT OF DAMAGES                                     CASE NUMLIER,

                                 (Personal Injury or Wrongful Death)                        I 5-6722-RAS
        To (name of one defendant only):        Napoli Bern Ripka & Associates, LLP et. al.
        Plaintiff (name of one plaintiff on!y):  Marc 1. Willick
        seeks damages in the above-entitled action, as follows:
        1. General damages                                                                                                                            AMOUNT
            a. EEl Pain, suffering, and inconvenience                                                                                                   0.00
             b.             Emotional distress                                                                                                          0.00
             c     [J       Loss of consortium                                                                                                          0.00
             d.             Loss of society and companionship (wrongful death actions only~                                                      $      0 00
             e.    [1       Other (specify)
             f.    (Jr]     Other (specify)                           .   .   .



             g.    L        Continued on Attachment 1.g.
        2. Special damages
           a. El Medical expenses (to date)                                                                                                      $      0.00
                            Future medical expenses (present value)                                                                              $      0.00
                            Loss of earnings (to date)                                                                        .
                                                                                                                                                 $      0.00
             d.         1   Loss of future earning capacity (present value)                                                                      $      0.00
                            Property damage                                                                                                      $      0.00
             f.             Funeral expenses (wrongful death actions only                       .   .   .   .
                                                                                                                                                 $      0.00
                            Future contributions (present value) (wrongful death actions only)                                                   $      0.00
             h.             Value of personal service, advice, or training (wrongful death actions only)                                         $      0.00
                            Other (specify,) Breach of Contract                                                                                  $ 5.300.000.00
             j.    EEl      Other (specify)                                                                                                      $      0.00
             k.    ri       Continued on Attachment 2k.

        3.    [~fj
                Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify). .$ 15.900,000.00
                when pursuing a judgment in the suit filed against you.
        Date: April 30, 2018


                            Kelly IL Halibrd
                                         (TYPE OR PRINT NAMEI
                                                                                                                     ~
                                                                                                        (SI3I4ATURE OF
                                                                                                                            2~
                                                                                                                         AINTIFF OR ATTORNEY FØ~PLAINTIFF)   ‘~—


                                                                    (Proof of service on reverie)                                            V                  Page 1 of 2
    Form Adopted for Mandatory Use
       Judicial Council of California
                                                                   STATEMENT OF DAMAGES                                             code of civil Procedure ~ 42511 325115
     CIV.050 (Rev January 1, 2007)                              (Personal Injury or Wrongful Death) SoluLtQns                                 EXHIBIT 11
                                                                                                                         :Ie Plus              Page 124
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           PLAINTIFF:     MARC 1. WILLICK                                                        CASE NUMIIER
                                                                                                                                                         CIV-050

  L                                                                                             15-6722-RAS
  LDEFENDANT: NAPOLI BERN RIPKA & ASSOCIATES, LLP et. al.
                                                                   PROOF OF SERVICE
  (After having the other party served as described below, with any of the documents identified in item 1, have the person who served
  the documents complete this Proof of Service. Plaintiff cannot serve these papers.)

  1. lservedthe
      a.            Statement of Damages       I      Other (specify):

      b. on (name):
      c. by serving                defendant       Ii other (name and title or relationship to person served):

      d.            by delivery         at home      L_]   at business
                    (1) date:
                    (2) time:
                    (3) address:

      e.   [31by mailing
              (1) date:
              (2) place:
 2. Manner of service (check proper box)
    a. I:,.j Personal service. By personally delivering copies. (CCP § 415.10)
    b. I ] Substituted service on corporation, unincorporated association (including partnership), or public entity. By
             leaving, during usual office hours, copies in the office of the person served with the person who apparently was in
             charge and thereafter mailing (by first-class mail, postage prepaid) copies to the person served at the place where the
             copies were left. (CCP § 415.20(a))
    c. I~J Substituted service on natural person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
             usual place of abode, or usual place of business of the person served in the presence of a competent member of the
             household or a person apparently in charge of the office or place of business, at least 18 years of age, who was
             informed of the general nature of the papers, and thereafter mailing (by first-class mail, postage prepaid) copies to the
             person served at the place where the copies were left. (CCP § 415.20(b)) (Attach separate declaration or affidavit
             stating acts relied on to establish reasonable diligence in first attempting personal service.)
    d [.1 Mail and acknowledgment service. By mailing (by first-class mail or airmail, postage prepaid) copies to the person
             served, together with two copies of the form of notice and acknowledgment and a return envelope, postage prepaid,
             addressed to the sender. (CCP § 415 30) (Attach completed acknowledgment of receipt.)
     e.    H. I     Certified or registered mail service. By mailing to an address outside California (by first-class mail, postage prepaid,
                    requiring a return receipt) copies to the person served. (CCP § 415.40) (Attach signed return receipt or other
                    evidence of actual delivery to the person served.)
     f.    L,,,,j
             Other (specify code section):
              I? additional page is attached.
 3. At the time of service I was at least 18 years of age and not a party to this action.
 4. Fee for service: $ 0,00
 5. Person serving:
    a. Lii California sheriff, marshal, or constable                          f. Name, address and telephone number and, if applicable,
    b. I     Registered California process server                                county of registration and number:
    c. [1 Employee or independent contractor of a registered
             California process server
    d. [_I Not a registered California process server
    e. [,,j Exempt from registration under Bus. & Prof. Code
             § 22350(b)

I declare under penalty of perjury under the laws of the State                    (For California sheriff; marshal, or constable use only)
of California that the foregoing is true and correct.                             I certify that the foregoing is true and correct.

                                                                                  Date:


                                   SiGNATURE                                                                    (SIGNATURE

CIV’OSO (Rev January 1   2007                                    PROOF OF SERVICE                                                                          Page2ot2
                                                                                                                     Code oi Civil Procedure.   §~   425 I I   425 115
                                                               (Statement of Damages)                                         EXHIBIT 11
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                                                      PROOF OF SERVICE
          2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

          3           At the time of service, I was over 18 years of age and not a party to this action. I am
              employed in the County of Los Angeles, State of California. My business address is 1999 Avenue
          4   of the Stars, Suite 1000. Los Angeles, CA 90067.

          5           On April 30, 2018, 1 served true copies of the following document(s) described as:

          6   STATEMENT OF DAMAGES

          7   on the interested parties in this action as follows:

          8                                    SEE ATTACHED SERVICE LIST

          9           BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
              persons at the addresses listed in the Service .List and placed the envelope for collection and
         10   mailing, following our ordinary business practices. I am readily familiar with the practice of
              Miller Barondess, LLP for collecting and processing correspondence for mailing. On the same
         11   day that correspondence is placed for collection and mailing, it is deposited in the ordinary coursc
              of business with the United States Postal Service, in a sealed envelope with postage fully prepaid.
         12   I am a resident or employed in the county where the mailing occurred, The envelope was placed
              in the mail at Los Angeles, California.
     ~   13
-j                    BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
         14   document(s) to be sent from e-mail address aalamango~millerbarondess.corn to the pci-sons at the
              e-mail addresses listed in the Service List. I did not receive, within a reasonable time after the
     :   15   transmission, any electronic message or other indication that the transmission was unsuccessful.
         16          1 declare under penalty of perjury under the laws of the State of California that the
              foregoing is true and correct.
         17
                     Executed on April 30. 2018, at Los Angeles. California.
         18

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         22                                                          Alexandria Alamango

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                                                                                            EXHIBIT 11
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                                                               SERVICE LIST
                                                         Willick ;‘. Napoli Bern Ripka
                                                        Case No. 2:15-C V-00652-AB-E
                    3   Traci S. Lagasse. Esq.                       Attorneys fbi’ .Defiinclants
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           a
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-~
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                                                                                                    EXHIBIT 11
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    Honorable Richard A. Stone (Ret.)
    BENCHMARK RESOLUTION GROUP
    633 West 5°’ Street, Suite 1000
    Los Angeles, California 90071
    (213) 622-1002 PH
    Arbitrator



                                            BENCIIMARK RESOLUTION GROUP
                           IN RE THE MATTER OF THE ARBITRATION BETWEEN


    MARC I. WILLICK,                                                 )
                                                                    )    ORDER RE: CLAIMANT’S MOTION
                                  Plaintiff! Claimant,              )    FOR TERMINATING AND MONETARY
                                                                    )    SANCTIONS
               vs.                                                  )
                                                                    )    DATE: June 30, 2018
   NAPOLI BERN RJPKA &                                              )    TIME: 9:00 am.
   ASSOCIATES, LLP et. al.,                                         )    PLACE: Benchmark Resolution Group
                                                                   )
                         Defendants/Respondents                    )
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                                                                   )
   ________________________________________________________________)




             Plaintiffs/Claimant’s               motion        for terminating      and   monetary   sanctions   against
   defendant/respondent Napoli Bern Ripka & Associates, LLP came on for hearing before the
   Arbitrator, Hon. Richard A. Stone (Ret.), on June 30, 2018. Having considered the parties’
   written briefs on the motion, the supplemental briefs and the arguments of counsel, the
   Arbitrator now issues the following order granting the motion in frill as to the accounting and
   breach of contract causes of action.




                             (:I..AIMA.NT’s MOTION FOR TERMINATING AND MONETARY SANenONS
                                                                                                         EXHIBIT 12
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                                                  Background
              This breach of contract action arises out of a dispute between a California attorney
       (“Plaintiff” or “Claimant” or “Willick”) and the New York law firm Napoli Bern Ripka &
       Associates (“NBRA” or “Napoli Bern”) regarding nonpayment of fees Plaintiff specializes in
       representing individuals suffering from asbestos-related illnesses, including mesothelioma.
       Plaintiff’s law office agreed to act as local counsel for NBRA with respect to certain asbestos-
       related cases in exchange for payment of fees, pursuant to two contracts a “Co-Counsel
       Agreement for California Personal Tnjury Claims” dated March 17, 2011, and an employment
    agreement dated May 20, 2011
              Less than two years into the relationship, Plaintiff became concerned with numerous
    facets thereof; including whether NBRA was paying all referral fees due to him The
   relationship disintegrated. On December 12, 2014 (i.e., over 3 years and four months ago),
   Plaintiff filed a complaint in the Superior Court of California, Los Angeles, Case No
   BC5 66742, against NBRA, Napoli Bern Ripka Shkolnik & Associates, LLP, Napoli Bern Ripka
   Shkolnik, LLP, Napoli Bern Ripka, LLP, and Napoli Kaiser Bern, LLP (collectively, “Entity
   Defendants”); and Marc J. Bern (“Bern”) and Paul J Napoli (“Napoli”) (collectively,
   “Individual Defendants”). The Complaint alleged five causes of action against all of the
   defendants (1) accounting (re: fees received on cases referred by Plaintiff or his referral
   sources), (2) breach of contract; (3) fraud; (4) violation of Business & Professions Code

   §    1 7200, and (5) negligent misrepresentation
             On January 28, 2015, the Entity Defendants removed the case to federal court. The
   Entity Defendants subsequently filed a motion to compel arbitration of the matter pursuant to
   the May 2011 Contract, which motion the District Court granted on August 20, 2015. In
  granting the motion, the District Court relied, in pan, on the defendants’ representation that they
  would pay their portion of the costs of arbitration.
            On September 15, 2015, the parties selected the Arbitrator. The arbitration was initially
  scheduled to take place in two phases: liability and damages (if Plaintiff prevailed on liability)
  The hearing in Phase I was originally set for January 24-25, 2017, and the hearing in Phase 2


                        CLAIMANT’S MOTION FOR TEItMINATfl(; AND MONETARY S.4NCIIOrcs
                                                                                          EXHIBIT 12
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    was set for March 14-15, 2017. However, the hearing dates were vacated because the
    defendants did not comply with their discovery obligations.
            In November 2017, the Arbitrator issued two tentative rulings in favor of Plaintiff on his
    first cause of action for an accounting, regarding the scope of the accounting and the
    responsibility for paying the costs of same. On January 27, 2018, the Arbitrator issued the final
    ruling on the matter, captioned, “Interim Award Re Accounting” (“the Interim Award”).
           In the Interim Award (Motion, Ex. G), the Arbitrator ruled in favor of Plaintiff on his
    first cause of action for an accounting (against NERA only) and ordered an accounting.
           In finding that an accounting was appropriate, the Arbitrator stated, “iter a/ia, that “it is
    clear, based on the evidence submitted by Mary Keyes, one of Willick’s referral sources, that
    Willick may be entitled to substantial compensation.” (Interim Award, at 5:23-25)’
           The scope of the accounting ordered was quite broad: “The accounting must identify all
   cases referred by Willick or Willick’s Referral Sources to [NBRAJ or any law firm with which
   Paul Napoli or Marc Bern have been affiliated, and quantify the fees received on such cases
   The accounting must also identify all cases for which Willick performed work as local counsel
   between March 7, 2011 and May 20, 2011, along with all Assigned Cases that Willick worked
   on while employed by [NBRA], and include the information identified in Section 1 [requiring
   extensive information as to each case].”
          The Interim Award appointed Bjorn L. tvlalmlund of Ernst & Young LLP (“the
   Accountant” or “E&Y”)       --   whom N.BRA it~e(fha4 in October 201 ?~ pmposecl to head up the
   accounting   --   to conduct the accounting The Interim Award also directed NBRA to bear the
   costs of the accounting, including a $100,000.00 retainer to E&Y.
          The Arbitrator concluded that it was appropriate to order NBRA to bear the costs of the
   accounting primarily because:
          [TJhe equities weigh against placing this burden on Willick, First, Defendant




     According to a list provided by Plaintiff’s key referral source (Mary Keyes) pursuant to an
  order issued by the United States District Court, Plaintiff referred at least 2500 cases to the
  defendants in this action. Defendants claimed in discovery that he referred 4 cases. This is
  discussed further in footnote 2, post.

                         CLAIMANT’S MOTION FOR TERMINATIN(; &NI) MONETARY SANCrIONS
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   •           Napoli Bern Ripka & Associates, LLP appears to have breached its obligations under the
               May Contract to pay Willick for cases on which he worked. Second, Defendant Napoli
               Bern Ripka & Associates, LL,P appears to have breached its obligation under the May
               Contract to pay Willick the portion of fees they received on cases accepted from his
               Referral Sources. Third, Defendant Napoli Bern Ripka & Associates, LLP have never
              provided Willick with an accounting even though it promised him that it would do so.
               Fourth, Defendant Napoli Bern Ripka & Associates, LLP breached its disccn’eiy
               obligations andprevented WilficIcfrom obtaining the documefits and information
              nece.swa,y topeiform an accounting on his own Fifth, Defendant Napoli Bern Ripka &
              Associates, LIP failed tojii(ftll its promises during discovety to Willick ‘s detriment
              And sixth, material informatw,, provided during discovery relating to cases referred by
              Wil/ick ~v referral sources proved to hefalse Interim Award, at 5:26-69 (emphases
              added)   2

              By late March 2018, NBRA still had failed to pay the $100,000.00 retainer (or even sign
       a retainer agreement with E&Y). Accordingly, Plaintiff brought this motion seeking
   terminating and monetary sanctions for failure to comply with the Interim Award NBRA filed
   opposition papers. Plaintiff filed reply papers.
             Alter issuing the Tentative Ruling on this motion, it appears counsel met and conferred
   and agreed to ask the Arbitrator to hold off making an ultimate ruling on this motion until the



  2     Tn his October 7. 2017 order denying Defendants’ motion to dismiss Plaintiff’s accounting
    claim, the Arbitrator stated: “While this case does not involve royalties, the amounts allegedly
   due and owing to Willick are similar in that he claims he is owed a percentage of fees for cases
   he brought in to the firm. This could feasibly be accomplished through discovery. However, for
   the reasons set forth in Willick’s opposition, discovety has been woe/lilly insufficient in thi.c
   regard. Napoli Bern only iden4fiedJbu,• individuals as having been referred by Maiy Keyes~ one
   ofMr. Willick ~ referral source s. According to Willick, documentation provided by Mc. Keyes
  shows that 2,520 cases were referred to Napoli Bern, not 4... The arbitrator participated in a
  number qf telephonic coqferences with counsel seeking to assist the parties to prodlice the
  requisite discove,y consistent with Respondents ‘legal obligations. When the arbitrator
  .ccrutinizes the discoveiy responses of the individual and entity J?e.spondents, one cannot help but
  conclude that they have chosen to prevent Willickfrom obtaining appropriate discovery to
  establish his claims.” (Ruling re Motion to Dismiss Accounting Claim, at 7:24-8:10) (emphases
  added)

                           CLAIMANT’S MOTION FoR TERMINAT1N(~ AND MONETARY S \NCffONS
                                                                                           EXHIBIT 12
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    parties could mediate the matter. At the parties’ request, the Arbitrator agreed to withhold the
    final ruling until the mediation was concluded Notwithstanding the agreement to continue the
    Ruling, the Arbitrator made it clear to the parties that there did not appear to be a substantial
    basis to modify the tentative ruling.
            On June 15, 2018, in the morning, the Arbitrator was advised by Willick’s counsel that
    the matter had not settled at mediation. Shortly thereafter, the Firm’s counsel notified the
    Arbitrator that a payment of$1   10,000.00 (the retainer plus an additional   fee to expedite the
    process) had been paid to the accountant’s firm that had been agreed upon to conduct the
    accounting. Willick’s counsel followed that email with an email and an accompanying letter
    Supplemental papers were filed by both sides, notwithstanding their agreement at the time the
   Arbitrator granted the continuance to allow for mediation that no additional materials or
   information would be submitted regarding the motion


                       The Competing Contentions of Plaintiff and Defendant


          Plaintiff asserts that the Interim Award is equal to a discovery order, and that
   terminating and monetary sanctions against NBRA are merited due to its violation of that order
   As Plaintiff puts it: “[NBRA] was ordered to pay for the cost of an accounting. It has failed to
   do so. As a result, the accounting has not been conducted or even commenced; this matter
  which was been pending for over three years        has been delayed once again, thus jeopardizing
  the efficacy of any fUrther relief that may be awarded to Plaintiff   .;   and Willick has incurred
  substantial additional costs. [NBRA’sJ conduct is inexcusable and outrageous, and
  sanctionable. Both terminating sanctions and monetary sanctions are warranted and, indeed,
  required. At this point, anything less would be too little, too late [NBRA]’s Answer to
  Willick’s Complaint should be stricken; a default award should be issued, a ‘prove up’ hearing
  should be scheduled; and, following the hearing, a final award should be issued on Willick’s
  claims against [NBRA].” (Motion, at 3:3-13.)
         NBRA points out the highly disfavored nature of terminating sanctions and asserts that
  same are not appropriately imposed here because it has tried, in good faith, to move forward


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     with the accounting (including the payment of the $100,000.00 retainer to E&Y). “NBR[A] has
     made a reasonable and good faith effort to comply with the Interim Award given that the
     Interim Award was not finalized until January 27, 2018, the Engagement Agreement with
    [E&Y] has yet to be finalized, and the Referee [in New York] has yet to approve the
    $100,000.00 retainer fee for [E&Y] On March 27, 2018, NBR[A] filed suit against its insurer
    to seek to compel payment of the retainer as a covered item under the insurance policy. The
    record before the Arbitrator supports a decision denying the subject motion       “   (Opposition, at
    2:10-17) “Given the complex nature of this case, NBR[A] was required to coordinate with its
    insurance carrier, the Referee, the Accountant {E&YJ, and other parties to comply with the
    Interim Award, which necessarily takes time As demonstrated in the various emails and letters
    sent by and on behalf of NBR[Aj, it is evident that NBR[A] made a good faith effort to flulfihl its
   obligations under the Interim Award. Accordingly, Plaintiffs motion should be denied”
   (Opposition, at 6 15-21.)
              On reply, Plaintiff cogently addresses NBRA’s arguments on a point-by-point basis
   The Referee will not summarize those arguments here, because they will be discussed (and even
   quoted) at length below.
             NBRA filed supplemental papers as indicated above after the matter failed to resolve at
   mediation but prior to the hearing scheduled for June 30, 2018. In those papers, NBRA
   requested the Arbitrator set aside the Tentative Order on four grounds;
             1. The entity defendants deposited $110,000.00 with the accounting firm as a retainer
                and an additional fee to expedite the accounting process;
          2     Having only adjudicated the accounting claim, imposing terminating sanctions for
                the remaining four causes of action would be “disproportionate and unjust,” i.e. the
                penalty should be appropriate to the dereliction and should not exceed that which is
                required to protect the interest of the party entitled to but denied discovery;
         3      Imposing terminating sanctions would have improperly placed Claimant “in a better
                position than he would have been in had the Interim Award been complied with
                earlier, i.e, prevailing party should not be in a better position than he would have




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                been had he obtained the discovery and it had been completely favorable to his
                cause; and
            4. Imposing terminating sanctions in this instance improperly acts as a tool for
                punishment and avoidance of a determination on the merits, i.e. the purpose of the
                discovery sanction is not to provide a weapon for punishment, forfeiture and the
                avoidance of trial on the merits, but rather to prevent abuse of the discovery process
                and correct the problem presented.


            Willick flied a supplemental brief in response to NBRA’s papers. Wiflick recounts the
    factual history of the matter and the Tentative Order. Willick asks the Arbitrator to disregard
    the supplemental brief based upon the agreement reached between the patties and counsel to
    continue the ruling on the Tentative Order when the Arbitrator was prepared to make the
    Tentative Order the final order, strike NERA’s answer, enter its default, and proceed forward to
    a default prove-up hearing.
           Willick argues that the payment for the accounting does not render the motion moot for
   four reasons:
           L No further argument or evidence was to be submitted prior to the issuance of a final
               order if the matter did not settle;
           2. The Arbitrator rejected a conditional ruling on payment being made due to the delays
               that had consistently occurred preventing Willick from obtaining discovery;
           3. The Arbitrator’s decision was not based solely on NBRA’s failure to pay for the
              accounting, but that was simply the last in a series of persistent and pervasive
              discovery abuses, dilatory behavior, and dishonesty during the case, including
              woefully insufficient and demonstrably false discovery responses,
          4. NBRA’s calculation to wait until the ruling before moving forward toward payment
              for the accounting.
   In addition, Willick waived his claims to all causes of action but for the accounting and breach
  of contract claims to avoid putting himself in a “better position than he would have been had he
  obtained the discovery and it had been completely favorable to his cause” The Arbitrator had


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     already ruled that the cause of action for the accounting had been established, and that Willick
     had proven, essentially, the elements for the breach of contract cause of action (which he
     claimed was inextricably intertwined with the accounting claim), and the Arbitrator had ruled
     on NERA’s claimed defense making the entry of NBRA’s default on those two causes of action
    consistent with the effort to prevent liirther discovery abuses. Finally, Willick argues that
    NBRA failed to provide an explanation for why entry of default and the subsequent award
    would lead to an unjust result.



                                               Analysis
            Code of Civil Procedure Section 2023.030 authorizes a trial court to impose monetary
    sanctions, issue sanctions, evidence sanctions, or terminating sanctions against ‘anyone
    engaging in conduct that is a misuse of the discovery process.” (Doppes v. Bet#leyMoiors~ hit.
   (2009) 174 Cal.App 4th 967, 991.)~ American Arbitration Association Rule R-58, applicable to
   this dispute in light of the parties’ arbitration agreement specifically referencing same
   provides’ “The arbitrator may, upon a party’s request, order appropriate sanctions where a party
   fails to comply with these rules or an order of the arbitrator “




  ~ The Arbitrator notes that in October 2017, he denied NBRA ‘s motion for terminating sanctions
  brought under this very statute.
  ~ Further, Code of Civil Procedure section 1283.05(b) provides that arbitrators “have power, in
   addition to the power of determining the merits of the arbitration, to enforce the rights, remedies,
   procedures, duties, liabilities, and obligations of discovery by the imposition of the same terms,
   conditions, consequences, liabilities, sanctions, and penalties as can be or may be imposed in like
   circumstances in a civil action by a superior court of this state under the provisions of this code,
  except the power to order the arrest or imprisonment of a person.” (See, Bergiund v
  Arthroscopic & Laser Surgery Center of San Diego, L.P. (2008) 44 Cal.4th 528, 535 [“[s]ection
   1283.05’s subdivision (b) grants arbitrators the power to enforce discovery through sanctions,”
  and “{t]hus, in an arbitration proceeding the arbitrator’s power to enforce discovery resembles
  that of a judge in a civil action in superior court”]; Alexander v. Blue Cro.s~y of Cal(fornia (2001)
  88 Cal.App.4th 1082, 1091 [section 1283.05 grants power to an arbitrator to impose discovery
  sanctions].)


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               NBRA does not dispute that the Interim Order is in the nature of a discovery order. /Vtr
       could it reasonably do so. As is aptly stated in the moving brief “The purpose of the Interim
       Award was to obtain the information needed to quantify [NBRA’sj liability in this case. It was
       intended to serve the same function as an order compelling discovery                    Indeed, it was, in large
       part, Defendants’ failure to provide full and accurate responses to discovery requests concerning
       [referred casesJ that led the Arbitrator to his decision on Willjck’s cause of action for an
       accounting.” (Motion, at 9:2-7.)~
               “The court may impose a terminating sanction by      ...   [II]   ...   [~J]   rendering a judgment
      of default against th[e offendingJ party.” (CCP 2023.030(d)(4)) A court is afforded broad
      discretion in selecting discovery sanctions, subject to reversal only for abuse.” (Doppes,                  supra,

      at 992; see also, 1?.& (.‘reative, Inc. v. (‘reative (‘otto,, Ltd (1999) 75 Cal.App.4th 486, 496.)
              Three facts are prerequisite to imposition of”doomsday” sanctions: (1) there must be a
      failure to comply; (2) the failure must be willful; and (3) there must be a prior court order
      compelling compliance with discovery that has been disobeyed. (Valihona                   i~   .5);ringer (1996)
      43 Cal. App 4th 1525, 1545; Ruvalcaba v. Government Employees Jn.s. (‘o. (1990) 222
      Cal.App.3d 1579, 1580~1581.)6
             Even if those three facts are established, terminating sanctions are disfavored and need
      not be imposed: “Discovery sanctions are intended to remedy discovery abuse, not to punish the
      offending party. Accordingly, sanctions should be tailored to serve that remedial purpose,



   ~ Cf, In reMarriage of Kacteiner, 2015 WI. 4601122, *5 (“The appointment of the accounting
  expert to obtain the information and analysis necessary to understand the nature, value and cash
  flow of Paul’s business to make an appropriate support order was in the nature ~f a discovery
  order. Therefore, the court had authority under both Code of Civil Procedure section 2023.030
  and its inherent judicial powers to impose terminating sanctions for failure to comply with court
  orders and for misuse of the discovery process”) (emphasis added)
  6 Willfulness in failing to comply with discovery obligations does not require wrongful
  intentions; a simple lack of diligence may be deemed willful where the party knew he had an
  obligation, had the ability to comply, and failed to do so. (Deyo v. Kilbourne (1978)84
  Cal.App.3d 771, 787.) The party with the obligation to respond to discovery i.e., NBRA        —                -


  bears the burden of showing that the failure to respond or comply was not willful (Gornwall v.
  Santa Monica Dairy C’o. (1977) 66 Cal.App.3d 250,252-253)


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     should not put the moving party in a better position than he would otherwise have been had he
     obtained the requested discovery, and should be proportionate to the offending party’s
    misconduct’ (Williams v. Russ (2008) 167 Cal. App.4th 1215, 1223. See also, e.g., Rail
    Services ofAmerica v. Stale Gomp. Ins. Fund (2003) 110 Cal App 4th 123, 331 332 [“the trial
    court may impose sanctions that are suitable and necessary to enable the party seeking
    discovery to obtain the objects of the discovery he [or she] seeks but the court may not impose
    sanctions which are designed not to accomplish the objects of the discovery but to impose
    punishment” (internal quotations and citations omitted)]; In reMarriage ofEconornon (1990)
    224 Cal App 3d 1466, 1476 [“Discovery sanctions cannot be imposed to punish the offending
    party or to bestow an unwarranted ‘windfall’ on the adversary”); J)eyo v Kilbourne (1978)84
    Cal.App.3d 771, 793 [the sanction should be “appropriate to the dereliction, and should not
    exceed that which is required to protect the interests of the party entitled to but denied
   discovery”].)7
           A terminating sanction is a drastic measure that denies a party the right to a trial on the
   merits. Accordingly, consistent with the authorities discussed above, our courts have limited its
   use to only the rarest and most extreme cases of litigation misconduct when no lesser sanction
   can preserve the fairness of the trial and restore balance to the adversary system. (Lyons    V.

   Wickhorst (1986) 42 Cal.3d 911, 916—917, see also, Mi/cikows/cy v. Te,zet Healthsystem (2005)
   128 Cal.App.4th 262, 279 [“A decision to order terminating sanctions should not be made
   lightly”), Stephen Slesinger, Inc. v. Wall Disney Co. (2007) 1 55 Cal.App 4th 736, 761, 764
   [establishing a trial court’s inherent power to dismiss an action for discovery abuse])
          The Arbitrator concludes that, unfortunately, this is one of those rare and extreme cases
  in this regard, none of the four excuses offered by NBRA hold water; none are legitimate
  excuses. indeed, a close look at the proffered excuses only reveals NBRA’s continuing,
  egregious delay and misconduct.




    NBRA argues: “if Plaintiff’s motion were granted and termination sanctions issued, this would
  undoubtedly place Plaintiff in a better position than he would be in had the alleged non
  compliance with the Interim Award not taken place, as argued by Plaintiff.” (Opposition, at
  8:25-28.) However, NBRA provides no explanation as to why that is the case

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            The excuse that the Interim Award was not finalized until January 27. 2018:
            NI3RA asserts that although the Arbitrator issued his tentative ruling in November 2017.
    the Arbitrator did not finalize it until January 27, 2018 when he issued the formal Interim
    Award. This fact actually works against NBR.A. As Plaintiff states in his reply brief
            [NERA] admits its insurance company denied coverage for the $100,000 retainer for the
            Accountant on November 27, 2017 more than two months before [NBRAJ informed the
            Arbitrator and Willick that the insurance company would not pay.... During this time,
            there were multiple conferences with the Arbitrator related to finalizing the Interim
            Award and beginning the accounting, but at no point was the Arbitrator or Wi/lick
            informed that the insurance company had denied coverage, or even that any decision
            that the insurer might make might have an impact on compliance with the Interim
           A ward. [Para.1 Although [NBR4J knew since November 27, 201 7~ that the insurance
           company had denied coverage, they did nothing to attempt to secure other means of
           payment until February 28, 2018, more than three months after the insurance company
           denied coverage and nearly a month beyond the date that [N.BRA / was suppo.ced to
           inform the parties and the Arbitrator as to whether it wouldpay for the Accounting
           l4bruary .5, 2018. Reply, at 44-16 (emphases added).




           The excuse that the En~zagement Agreement with E&Y has         yet to   be finalized
           Per NBRA, it has been “work[ing] with the Accountant to revise the Engagement
   Agreement as needed, which has yet to be finalized.” It asserts that “[tjhe dispute over th[e
   Enagagement Agreement’s Personal Datal provision (and potentially other provisions) must
   first be resolved before the Engagement Letter can be finalized” (Opp. at 5:3-4)
          The Arbitrator has careffilly reviewed NBRA’s proposed revisions to E&Y’s
   engagement agreement The many reasons why this excuse fails are tackled handily at 5:13-79
   of the reply brief and will not be repeated at length here. Suffice it to say that the Arbitrator
   wholeheartedly agrees with Plaintiff’s observations that (I) nothing in the Tnterim Award


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    excuses NBRA from withholding the retainer while it quibbles with E&Y regarding the terms of
    the engagement letter; (2) any issues regarding the conditions under which E&Y would be
    willing to serve as the accountant in this case should have been addressed and resolved prior to
    that firm being proposed as a candidate by NBRA itself; and certainly prior to the hearing when
    the Arbitrator selected E&Y, and (3) NBRA’s disputes with E&Y over the terms of the
    agreement including but not limited to its requests that E&Y dispense with its arbitration
               -




    provision, that E&Y dispense with certain exoneration and liability limitation provisions, and
    that E&Y dispense with its Personal Data provision are “contrived” disputes inappropriately
                                                             -




   created by NBRA to (among other things) delay the accounting.


           The excuse that the Referee in New York has yet to approve the       $100,000MO retainer fee
   for E&Y:
           The facts pertinent to this excuse, as set forth in the opposition brief; are as follows (1)
   “Mark C. Zauderer (the ‘Referee’) was appointed as the referee in the action Napoli v. Bern,
   Index No. 159576/20 14 and is empowered to hear and determine any and all issues, and to
   perform any and all acts in this action with all the powers of the Supreme Court of the State of
   New York”; (2) “On February 28, 2018, Counsel for Entity Defendants wrote to the Referee
   requesting authorization for the $100,000.00 retainer for Ernst & Young to conduct the
   accounting”; and (3) “On March 14, 2018, the Referee responded stating that he is awaiting the
   advice of Mr Napoli and Mr. Bern on how to proceed.” (Opp., at 5:9-2 1.)
          As stated in the reply brief; Napoli Bern’s assertion that it should be excused for not
   complying with the Interim Award because the Referee hasn’t authorized payment lacks merit:
          First, Mr. Zauderer hasn’t authorized payment because “he is waiting the advice of Mr
          Napoli and Mr. Bern how to proceed.”      ...   However, there is no indication that Mr
          Zauderer doesn’t have the thnds. Indeed, Napoli Bern has not provided any information
          whatsoever concerning its financial condition or the results of its operations      In fact, it
          is telling that neither Napoli or Bern, nor Mr Zauderer, nor anyone but one of Napoli
          Bern’s new attorneys in this case (who does not purport to have any personal knowledge
          regarding Napoli Bern’s finances, the coverage issues, or the proceedings in Napoli v


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               Bern) has submitted a declaration or other evidence in opposition to this motion. [Para.]
               Second, Mr. Zauderer has been waiting for the authorization since February 28, 2018,
               almost two months ago. Why hasn’t the authorization been given? No explanation is
               provided in the Opposition     Reply at 411-55


               The excuse that the NBRA’s insurer has denied payment of the retainer as a covered
    item under the insurance policy (and NBR.A’s filing of a coverage suit):
               NBRA, pointing out that in late March 2018 it “filed suit against its insurer, Evanston
    Tnsurance Company, seeking court intervention to compel payment of the $100,000.00 retainer”
    (and sought authorization from the New York Referee), argues that it “has made strides to
    comply with the Interim Award.”         (Opp., at 7.15-16.)
           However, as Plaintiff correctly counters. “Napoli Bern never asked the Arbitrator to
    make the Interim Award relating to the cost of the accounting conditioned on or subject to the
   insurance company making the payment. If they intended to delay the accounting process until
   they received a payment from the insurance company, they should have said something a long
   time ago.... [Para.] The bottom line is that the Interim Award requires Napoli Bern not the
                                                                                            -




   insurer to pay for the cost of the accounting, including the $100,000 retainer required by the
           -




   accountant that they proposed. The Award does not permit Napoli Bern to delay payment or
   compliance with the Award pending a resolution of what will likely be a lengthy case regarding
   coverage for Willick’s claims.” (Reply, at 3 15 27)


           Based on the foregoing, as well as the prior history of this action (with which the
   Arbitrator is quite familiar, and part of which is summarized in the “Background” section of this
   order, ante), the Arbitrator finds that NBR.A’s assertion that it sought to comply with the Interim
   Order “in good faith” lacks credibility. To put it another way the Arbitrator concludes that
   NBRA’s failure to comply with the Interim Order was wil(fi,/, even though the payment was
   finally made long after the Tentative Order.
          Numerous cases stand for the proposition that terminating sanctions are appropriate in
  egregious instances of discovery misconduct. Indeed, “where a violation is willful, preceded by


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    a history of abuse, and the evidence shows that less severe sanctions would not produce
    compliance with the discovery rules, the trial court is justified in imposing the ultimate
    sanction.” (Mileikowsky, supra, 128 Cal.App.4th at 279.)
            One example is J-larthrodg v. Burke (1996) 42 Cal. App 4th 168 In that case, the
    plaintiff commenced an action for breach of contract and tort seeking return of a $2,000,000
    capital investment in a company that never got off the ground, The defendant served document
    production requests seeking a tape made of a conversation between the parties relevant to the
    issues of the complaint. The defendant also alleged the plaintiff had played the tape for him and
    claimed he would make trouble for the defendant unless he received $2,000,000 The plaintiff
   responded that the tape was privileged from discovery by the privilege against self-
   incrimination, as the plaintiff was under investigation by the federal government for mail fraud
    (Id at 170-171.) A discovery referee concluded the tape contained relevant material and
   ordered a redacted version made available for inspection and the referee’s conclusions were
   upheld by the trial court. (Id at 171.) The trial court ordered the tape produced within 30 days.
   the plaintiff failed to comply. Thereafter, the trial court granted the defendant’s motion for a
   terminating sanction and dismissed the action. (Id at 171-172) Bar/broth found no abuse of
   discretion based upon the plaintiffs wiliflul obstruction of discovery in his failure to produce the
   tape after both the referee and trial court ordered its production (Ic! at I 75)
          Similarly, in (‘olli,sson & Kaplan v. 1-Jarrunian (1994) 21 Cal App 4th 1611, the trial
   court imposed terminating sanctions after the defendants failed to comply with a single court
  order to produce discovery. After failing to receive appropriate responses or timely responses,
  to numerous discovery requests, the plaintiff sent the defendants letters requesting compliance
  with the discovery, to which the defendants failed to respond. The trial court granted the
  plaintiffs motions to compel and ordered the defendants to respond to discovery. The
  defendants failed to comply with these orders, and the plaintiff filed a motion to strike the
  defendants’ answer. (Id. at 1614-161 5.) After the motion was granted, the defendants filed a
  motion for reconsideration and responded to discovery. (Id.) The (‘ollisson & Kaplan court
  rejected the defendants’ argument that “that since this was their ‘first effort’ at drafting
  responses, the trial court should not have resorted to the drastic sanction of striking their


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             answer.” (Id at 1618.) “Defendants’ characterization of their fbrther responses as being their
             ‘first effort’ to respond, while literally correct, is nonetheless misleading The point that
             defendants fail to acknowledge is that, while this may have been their first effort to respond, it
            was not plaintiff’s first [attempt] at receiving straightforward responses Defendants chose to
            ignore the many attempts, both formal and informal, made by plaintiff to secure fair responses
            from them. Accordingly, we find no abuse of discretion by the trial court.” (Id at 1618.)
                    Yet another example is Lagunci Auto Body v. Fanners In& Exchange (1991) 231
            Cal.App.3d 481 (disapproved on another ground in Garcia v. Mc(’uichen (1997)16 Cal 4th
            469, 478, fn 4.) In Laguna Auto Body, the plaintiffs were ordered to respond to interrogatories,
 ~          but they repeatedly failed to do so. (Id. at 483-484.) The plaintiffs also failed to appear for
 11         noticed depositions. (Id at 484.) In terminating the plaintiffs’ action as a discovery sanction
            and denying reconsideration of this ruling, the trial court relied on “the plaintiff[s’] actions” as a
 :.s       basis for the sanctions. (Id at 486.) The appellate court affirmed, reasoning that the plaintiffs
14         had violated a court order and various discovery statutes. (Id at 487-491      )   The appellate court
15         rejected the plaintiffs’ contention that dismissal for failing to attend the noticed deposition was
16         an inadequate basis for the sanctions order, pointing to plaintiffs’ noncompliance with the order
17         regarding the interrogatories (id at 489-490.)
                   In other words, the Arbitrator may consider a party’s entire conduct in the litigation in
           deciding whether to impose a sanction (See also, e.g., Lang v. Hochman (2000) 77 Cal App 4th
20         1225, 1246 (reviewing cases in which trial courts imposed terminating sanctions “after
           considering the totality of the circumstances”)8 Obregon v. Superior Court (1998) 67
       Cal.App.4th 424, 430-431 (in resolving discovery matter, trial court may rely upon “past
       experience” and may look to the “history of the litigation”; “an abuse of discovery procedures in
       one instance can imply a continuing intent to abuse in other instances”])




       8    Notably, the Lang court stated that in assessing whether a terminating sanction was an abuse of
       discretion, the question “is not whether the trial court should have imposed a lesser sanction;
       rather the question is whether the trial court abused its discretion by imposing the sanction that it
       chose.” (Lang, supra, 77 Cal.App.4th at 1245) (internal quotations and citations omitted)

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           The Arbitrator is loath to impose terminating sanctions. Very much so. However, here,
    NBRA’s litigation conduct prior to the Arbitrator’s issuance of the Interim Award, in
    combination with its wi4fid failure to comply with the Interim Award until faced with the entry
    of default by means of the doomsday sanctions, demonstrate a level of (continuing) obstruction
    so egregious as to warrant (if not require) the imposition of terminating sanctions, in the interest
    ofjustice and looking at the totality of the circumstances. Unfortunately, the Arbitrator agrees
   with Plaintiffs observation that “[alnything less would only encourage more of the same”
   (Motion, at 2:10.) However, because the discovery issues and the Interim Award were directed
   to information that would have primarily related to the causes of action for an Accounting and
   Breach of Contract, the Arbitrator will only consider those two causes of action (as agreed to by
   the Claimant) by way of a prove-up hearing (It should be noted that nothing in this ruling
   should be construed as casting any aspersions whatsoever or being directed at NBRA’s newly
   retained counsel.) By limiting the default to only those two causes of action, the Arbitrator is
   limiting the notion of the imposition of a “penalty” or the suggestion that the entry of the default
   award is in some manner “inequitable” Moreover, it limits the Claimant’s damages to
   contractual damages which would have been contemplated “had he obtained the discovery and
   it had been completely favorable to his cause”
          NBRA has systematically, thoughtfully and dishonestly denied Willick the discovery
  necessary to present his claims for the last number of years Despite his best efforts, those of
  his counsel and the involvement of the Arbitrator on a number of occasions, he was, again,
  denied the opportunity to obtain the information necessary to present his case. Based upon the
  totality of the circumstances, the Arbitrator hereby finds that there was no reasonable alternative
  to obtain compliance from NBRA to provide the appropriately requested discovery Willick has
  been seeking for the last number of years.



                                               Conclusion
         Claimant’s motion is GRANTED IN FULL regarding the causes of action for an
  accounting and breach of contract. Request for terminating sanctions for those two causes of
  action is GRANTED. Request for monetary sanctions is GRANTED


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            Napoli Ripka Bern & Associates, LLP’s answer is stricken, and its default is entered for
    those two causes of action.
            A prove-up hearing on the Accounting and Breach of Contract causes of action was held
    on June 30, 2018, at 9:00 a.m., at the Arbitrator’s office. At that time, Plaintiff presented his
    evidence and argument to prove up all of his claims against Napoli Ripka Bern & Associates,
    LLP. The prove up paperwork has been submitted to the Arbitrator and will be the subject of a
    later ruling and award. Willick is to quantify all fees and costs incurred in connection with the
    instant motion and that too, without stipulation, will be heard at a later time.




    DATED         3/3//I
                                                   Hon. Richard A. Stone (Ret.)
                                                   Arbitrator




                     CLAIMANT’S ~t(Y~ION FOR TERMINATING AND MONETARY SANcTIONS          EXHIBIT 12
                                                                                          Page 145
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                   EXHIBIT 13
                                                                    EXHIBIT 13
                                                                     Page 146
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    IHonorable Richard A. Stone (Ret.)
     BENCHMARK RESOLUTION GROUP
   2 633 West 5th Street, Suite 1000
     Los Angeles, California 90071
     (213) 622-1002 PH
   4 Arbitrator

   5
   6                                 BENCHMARK RESOLUTION GROUP, LLC.

   7

   8

   9    MARC I. WILLICK, an individual,                   ADRS CASE NO. 15-6722-RAS

  10                    Plaintiff,                        FINAL AWARD ON PLAINTIFF’S
                                                          CLAIMS AGAINST DEFENDANT
                   v.                                     NAPOLI BERN RIPKA & ASSOCIATES,
                                                          LLP
  12    NAPOLI BERN RIPKA & ASSOCIATES,
        LLP, a purported limited liability partnership;
  13    NAPOLI BERN RIPKA SHKOLNIK &
        ASSOCIATES, LLP, a purported limited
  14    liability partnership; NAPOLI BERN RIPKA
        SHKOLNIK, LLP, a purported limited
  15    liability partnership; NAPOLI BERN RIPKA,
        LLP, a purported limited liability partnership;
  16    NAPOLI KAISER BERN, LLP, a purported
        limited liability partnership; MARC J. BERN,
  17    an individual; PAUL J. NAPOLI, an
        individual; and DOES I through 50,
  18
                        Defendants.
  19    ______________________________________




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        393034.2
              FINAL AWARD ON PLAINTIFF’S CLAIMS AGAINST DEFENDANT NAPOLI EXHIBIT 13 &
                                                                         BERN RIPKA
                                                                                Page 147
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   1                                            FINAL AWARD
   2          This Final Award is based on the following facts:

   3           1.     In 2011, Plaintiff/Claimant Marc I. Willick, a California-based attorney, entered
   4   into two contracts with Defendant Napoli Bern Ripka & Associates, LLP (“Napoli Bern”). In the

   5   first contract, Willick agreed to serve as local counsel for Napoli Bern. In the second contract,

   6   Willick agreed to join Napoli Bern as an employee, and Napoli Bern agreed to make certain
   7 payments to Willick based on fees received by Napoli Bern from cases that Willick or his

   8   “Referral Sources” (which were identified in an exhibit to the second contract) referred to Napoli

   9   Bern. The second contract effectively superseded the first contract.
  10          2.      Willick’s employment with Napoli Bern terminated in or about December 2012.
  11          3.      On December 12, 2014, Willick filed a complaint in the Los Angeles Superior
  12   Court against Napoli Bern, its two equity partners    Paul Napoli (“Napoli”) and Marc Bern

  13   (“Bern”), and certain other partnerships that succeeded to or were otherwise a reformulation of

  14 Napoli Bern’s business and in which Napoli and Bern were the two equity partners. Willick

  15   alleged, among other things, that Napoli Bern had received fees on cases that WiHick or his
  16   Referral Sources had referred to Napoli Bern but had failed and refused to make any payments to

  17   Willick on account of such fees. Willick alleged claims for an accounting and breach of contract,

  18   among other theories.

  19          4.      On January 28, 2015, all Defendants other than Napoli and Bern (the “Entity

  20   Defendants”) removed the case to the United States District Court for the Central District of

  21   California.
  22           5.     Thereafter, Defendants answered Willick’s complaint. They denied the material

  23   allegations in the complaint and alleged various affirmative defenses.

  24           6.     On June 17, 2017, the Entity Defendants moved to compel arbitration of Willick’s

  25   claims against them. Napoli and Bern joined in the motion. Willick opposed the motion.

  26           7.     On August 20, 2015, the District Court granted the motion to compel arbitration.

  27           8.     On September 15, 2015, the undersigned was appointed as the Arbitrator.

  28           9.     On September 15. 2017, Napoli Bern moved for judgment on Willick’s first cause
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                                                                                EXHIBIT 13
              FINAL AWARD ON PLAINTIFF’S CLAIMS A0A!~T           NDANT NAPOLI BERN RIPKA &
                                                                                   Page 148
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   I   of action for an accounting, contending that Willick was not entitled to an accounting under New

   2   York law.
   3             10.    On October 6,2017, following hearings on October 5 and 6,2017, the Arbitrator
   4   denied Napoli Bern’s motion. In doing so, the Arbitrator found that Willick was, in fact, entitled

   5   to an accounting for purposes of compiling information concerning the cases that Willick’s

   6   Referral Sources referred to the Entity Defendants, including the amount of fees received by them

   7   on such cases.

   8             11.    At the conclusion of the hearing on October 6,2017, all patties agreed and the

   9   Arbitrator decided that a further hearing on whether Willick was entitled to an accounting was
  10   ulmecessary in light of the decision made by the Arbitrator on October 7,2017. It was further
  11   agreed by the parties and the Arbitrator that the remaining issues regarding the accounting     —




  12   specifically, the information to be included in the accounting (based on the Arbitrator’s

  13   interpretation of the second contract), who would conduct the accounting, and who would pay for

  14   the accounting   —   would be addressed in and decided based on written submissions and a hearing

  15   before the Arbitrator. The parties then provided those submissions later in October 2017.

  16             12.    On November 1,2017, the Arbitrator issued a tentative ruling on the scope of the

  17   accounting. The Arbitrator also tentatively ruled that Napoli Bern would be obligated to pay for

  18   the cost of the accounting. Further hearings were conducted on November 5 and 11, 2017. At the

  19   conclusion of the hearing on November 11, 2017, the Arbitrator adopted the tentative rulings

  20   issued on November 1,2017 as his final rulings, and appointed the accountant proposed by Napoli

  21   Bern—Bjorn Malmlund of Ernst & Young—to conduct the accounting.

  22             13.    On January 11,2018, the Arbitrator issued an Interim Award, confirming the

  23   tentative rulings made in November 2017. The Interim Award thus: (a) confirmed that Willick is
  24   entitled to an award in his favor of his first cause of action and, in particular. to an accounting; (b)

  25   identified the information to be included in the accounting; (c) determined the scope of the

  26   accounting, including the cases to be included in the accounting; (d) construed the contracts
  27   between Willick and Napoli Bern; (e) directed Napoli Bern to pay for the cost of the accounting;

  28   (0 confirmed the appointment of Mr. Malmiund as the accountant          and (g) required all Defendants
       3930342                                             3                                               —

                                                                        EXHIBIT 13
             FINAL AWARD ON PLAINTIFF’S CLAIMS AGAINST DEFENDANT NAPOLI BERN RIPRA &
                                                                          Page 149
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   1   to cooperate with the Accountant. There was a further hearing before the Arbitrator on January

   2   27, 2018; and on the same day, the Arbitrator issued a revised version of the Interim Award dated

   3   January 11,2018. Insofar as Napoli Bern’s liability to Willick (as determined in this Award) is

   4   concerned, the revisions are immaterial.’

   5           14.    Napoli Bern did not provide the $100,000 retainer required by the Accountant or

   6   execute an engagement agreement with the Accountant, as the Accountant had requested.

   7   Therefore, work on the accounting did not commence. and Napoli Bern did not comply with its

   8   obligations under the Interim Award.

   9           15.     On March 9,2018, Willick submitted and served a motion for terminating and
  10   monetary sanctions against Napoli Bern (“Sanctions Motion”). Willick sought to have Napoli

  11   Bern’s answer to Willick’s causes of action for an accounting and breach of contract stricken and
  12   to have monetary sanctions imposed on Napoli Bern on the grounds that Napoli Bern had failed to

  13   comply with the Interim Award.
  14           16.     On April 28, 2018, the Arbitrator issued a tentative ruling to grant the Sanctions

  15   Motion. Shortly thereafter, counsel for the parties requested the Arbitrator to defer issuing a final

  16   ruling on the Sanctions Motion pending the completion of a mediation, although they agreed that
  17   the hearing on the Sanctions Motion would proceed on May 1,2018, as scheduled.

  18           17.    The hearing on the sanctions motion took place before the Arbitrator on May I.

  19   2018. All parties appeared through their respective counsel of record. The Arbitrator stated that

  20   he intended to grant the Sanctions Motion, but, as requested, would defer issuing a formal ruling.

  21   The Arbitrator also set June 16, 2018 as a date for conducting a prove-up hearing.
  22           18.    The mediation was not successful. Thereafter, Napoli Bern tendered a payment to

  23   Ernst & Young in the amount of $110,000.
  24   ___________________________




  25     The purposes of the Interim Award of January 27, 2018 were to make it clear that the Interim
       Award concerned only Napoli Bern’s liability to Willick, and not the liability of the other
  26   defendants; to confirm that the accounting was granted in response to Willick’s contention that

  27   Napoli Bern violated an employment-related law, rule or regulation; and to order Napoli and Bern
       to cooperate with the accountant and direct the employees at the current laws firms to provide such
  28   cooperation.
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              FINAL AWARD ON PLAINTIFF’S CLAIMS AGAINST DEFENDANT NAPOLI BERN RIPRA &
                                                                                      EXHIBIT 13
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   1              19.   A hearing was conducted on June 30, 2018 (after the parties requested a
   2   continuance of the hearing that had been scheduled for June 16, 2018). All parties appeared

   3   through their counsel. The Arbitrator denied a request by Napoli Bern to reconsider and deny the

   4   Sanctions Motion on the basis of the payment tendered to Ernst & Young, granted the Sanctions

   5   Motion, and conducted a prove-up hearing.

   6              20.   On July 3,2018, after considering the briefs, declarations, evidence, and argument

   7   of counsel submitted in support of and in opposition to the Sanctions Motion, the Arbitrator issued

   8   an “Order re: Claimant’s Motion for Terminating and Monetary Sanctions,” confirming its

   9   decision to grant the Sanctions Motion in full, strike Napoli Bern’s answer to Willick’s causes of
  10   action for an accounting and breach of contract, enter a default against Napoli Bern on those two

  11   causes of action, and grant Willick’s request for monetary sanctions. The Order also confirms that
  12   a prove-up hearing had been conducted on June 30, 2018.

  13              21.   On August 2, 2018, the Arbitrator issued a “[Tentativel Order re: Plaintiff’s

  14   Motion for Entry of Default Award; Award” dated August 2,2018, stating that Willick quantified

  15   the amounts to which Willick is entitled as damages and monetary sanctions.

  16              22.   Willick has advised the Arbitrator that as to Napoli Bern only, Willick is willing to
  17   waive his right to recover costs except to the extent that they are included in the award of

  18   monetary sanctions in his favor, and that he is willing to waive his right to seek any recovery

  19   against Napoli Bern on any of his causes of action other than his First and Second Causes of

  20   Action (for an accounting and for breach of contract).

  21              23.   The findings stated above are intended to supersede any inconsistent statements or
  22   findings in any prior orders, rulings or awards issued by the Arbitrator in this matter.

  23              NOW, THEREFORE, THE ARBITRATOR HEREBY MAKES THE FOLLOWING
  24   AWARD:

  25                    A.     With respect to Willick’s Complaint filed on December 12,2014 and Napoli

  26   Bern’s Answer to the Complaint, Napoli Bern’s right to contest Willick’s First Cause of Action for

  27   an Accounting and/or Willick’s Second Cause of Action for Breach of Contract is hereby terminated,

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             FINAL AWARD ON PLAINTIFF’S CLAIMS AGAJNST DEFENDANT NAPOLI BERN RIPKA &
                                                                                          Page 151
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      I   its Answer to those Causes of Action is hereby stricken, and those Causes of Action are hereby

      2   decided in favor of Willick and against Napoli Bern byway of default;

      3                   B.     On Willick’s First Cause of Action, the Arbitrator finds that Willick is entitled

      4   to $3,355,260.00 for his share of the fees received by Napoli Bern on cases referred to Napoli Bern

      5   by Willick’s Referral Sources.

      6                   C.     On Willick’s Second Cause of Action, Willick is entitled to damages against
      7   Napoli Bern in the amount of 3,355,260.00 and to prejudgment interest in the amount of

      8   $724,198.53, for a total award of $4,079,458.53.

      9                   D.     Willick is also awarded monetary sanctions against Napoli Bern in the amount
  10      of$44,198.00.

  11                      E.     Based on the waivers referenced in paragraph 22 above, the relief granted in

  12      paragraphs A-D above is and will be the only relief granted to Willick against Napoli Bern.

  I       However, nothing contained in this Final Award shall impair Willick’s rights with respect to, or any
          of his claims against, any Defendant other than Napoli Bern. Therefore, the Arbitrator reserves
  14
          jurisdiction over Willick’s claims against all Defendants other than Napoli Bern.


  ~       DATED: August3 ,20l8                         kl4,&~  it”
                                                          on ichard A Stone (Ret)
  17                                                     Arbitrator

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            Telephone: (310) 552-4400
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          6 Attorneys for Plaintiff MARC I. WILLICK
          7
          8                           UNITED STATES DISTRICT COURT
          9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
         10
         11 MARC I. WILLICK, an individual,              CASE NO. 2:15-cv-00652-AB-CE
         12                  Plaintiff,                  [Assigned for to Hon. Andre Birotte, Jr.;
                                                         and Magistrate Judge Charles F. Eick]
9 ~      13        v.
                                                        JOINT STATUS REPORT
    ?~   14 NAPOLI BERN RIPKA &                         REGARDING THE ARBITRATION
            ASSOCIATES, LLP, a purported                PROCEEDINGS
5        15 limited liability partnerShip; NAPOLI
            BERN RIPKA SHKOLNIK &
    ~    16 ASSOCIATES, LLP, a purported
            limited liability partnerShipS NAPOLI
         17 BERN RIPKA SHKOLNfl(, LLP, a
            purp~orted limited liabilitypartnership;    Action filed:   12/12/14 (Los Angeles
         18 NAPOLI BERN RIPKA, LLP, a                                     County Superior Court
            purported limited liability partnership;    Trial Date:     None set
         19 NAPOLI KAISER BERN, LLP, a
            purported limited liability partnershjp;
         20 MARC J. BERN, an individuaF PAUL
            J. NAPOLI, an individual; and boES 1
         21 through 50,
         22                  Defendants.
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              268968.1                                                    Case No. 2:15-cv-00652-M3-CE
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              1              Pursuant to the Court’s Order, dated August 20, 2015, Plaintiff Marc I.
              2 Willick (“Plaintiff’) and Defendants Napoli Bern Ripka & Associates, LLP; Napoli
              3 Bern Ripka Shkolnik & Associates, LLP; Napoli Bern Ripka Sckolnik, LEP; Napoli
              4 Bern Ripka, LLP; Napoli Kaiser Bern, LLP; and Marc J. Bern (collectively,
              5 “Defendants”) (Plaintiff and Defendants, together, the “Parties”)1 hereby submit this
              6 Joint Status Report Regarding the Arbitration Proceedings.
              7              On September 15, 2015, the Parties agreed to select the Honorable Richard A.
              8 Stone as the arbitrator in this matter. On September 24, 2015, the Parties received
              9 Judge Stone’s fully executed Disclosure Statement. Objections to the Disclosure
             10 Statement are due on October 9, 2015.
             11              It is anticipated that Judge Stone will schedule a status conference for the
            12 purpose of scheduling all appropriate dates including a discovery schedule, motion
    ~.!     13 deadlines, and a date for the arbitration of this matter.
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            26    _______________________




            27      Defendant Paul J. Napoli has received a copy of this Status Report but has thus far
            28 not indicated whether he has any objections it.
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              1 DATED: October 8, 2015            MILLER BARONDESS, LLP
              2
              3
          4                                       By:           Is! James Goldman
                                                            JAMES GOLDMAN
          5                                                 Attorneys for Plaintiff MARC I.
          6                                                 WILLICK
          7 DATED: October 8, 2015                ANDREWS, LAGASSE, BRANCH & BELL,
          8                                       LLP
          9
         10                                       By:           /s/ Kelly D. Folger
         11                                                 KELLY D. FOLGER
         12                                                 TRACI   S. for
                                                            Attorneys  LAGASSE
                                                                           Defendant MARC J, BERN
   ¶~!   13
     ~   14 DATED October 8, 2015                YEE & BELILOVE
         15
:1<.L~   16
                                                 By.           /s/ Steve R. Belilove
         17                                                 STEVE R. BELILOVE
         LU                                             Attorneys
                                                        BERN RIPKAfor Defendants NAPOLILLP;
                                                                       & ASSOCIATES,
                                                        NAPOLI BERN RIPKA SHKOLNIK &
                                                        ASSOCIATES, LLP; NAPOLI BERN
                                                        RIPKA SHKOLNIK, LLR NAPOLI
                                                        BERN RIPKA LLP; NAPOLI KAISER
         21                                             BERN LLP
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                                             JOINT STATUS REPORT                       Page 156
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 :1 5-cv-00652-AB-E Marc I Willick v. Napoli Bern Ripka & Associates. LLP et al CASE CLOSED on
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         UNITED STATES DISTRICT COURT for the CENTRAL DISTRICT OF CALIFORNIA
otice of Electronic Filing
he following transaction was entered by Goldman, James on 10/8/2015 at 4:21 PM PDT and filed on
0/8/2015
ase Name:             Marc I Willick v. Napoli Bern Ripka & Associates, LLP et al
ase Number:           2:15-cv-00652-AB-E
iler:                 Marc I Willick
IARNING: CASE CLOSED on 08/20/2015
 ocument Number: 4fl
ocket Text:
TATUS REPORT JOINTLY filed by Plaintiff Marc I Willick. (Goldman, James)

:15-cv-00652-AB-E Notice has been electronically mailed to:
avid M Wright      dwright@fwcllp.com
3mes Lewis Goldman           jgoldman©millerbarondess.corn, kwhittaker@millerbarondess.com
elly Drew Folger     kfolger©albblaw.com, mchavez@albblaw.com
teve R Belilove     srb©yeelaw.com
Leven R Yee       sry@yeelaw.com
odd E Croutch      tcroutch@fwcllp.com
raci S Lagasse     tlagasse@albblaw.com, mchavez@albblaw.com
:15-cv-00652-AB-E Notice has been delivered by First Class U S. Mail or by other means DY
HE FILER to:
he following document(s) are associated with this transaction:
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